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 1                                  UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                    ***
 4    UNITED STATES OF AMERICA,                                  Case No. 2:20-mj-01041-EJY
 5                     Plaintiff,
                                                                           ORDER
 6             v.
 7    MARK GALLOWAY,
 8                     Defendant.
 9

10             Before the Court is Defendant’s Motion for Appointment of Counsel (ECF No. 10) to which
11   no response was filed.
12             Defendant is charged in a criminal complaint with Class B misdemeanors including driving
13   under the influence, possessing an open container of alcohol in his vehicle and disorderly conduct.
14   ECF No. 1. The Federal Public Defender’s Office was originally appointed to represent Defendant
15   at his initial appearance only. Defendant now asks the Court to appoint the Federal Public Defender
16   to represent him going forward based on the possible sentence he faces on each count, as well as for
17   purposes of negotiating a resolution to this case. Defendant’s previously submitted sealed financial
18   affidavit demonstrates Defendant does not have the financial resources to retain counsel on his own
19   behalf.
20             Based on the totality of the information before the Court and, specifically, the sentence
21   Defendant may face, which could include imprisonment, IT IS HEREBY ORDERED that
22   Defendant’s Motion for Appointment of Counsel (ECF No. 10) is GRANTED.
23

24             Dated this 11th day of January, 2021
25

26

27                                                    ELAYNA J. YOUCHAH
                                                      UNITED STATES MAGISTRATE JUDGE
28
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